             Case 5:22-cr-00008-EKD-JCH Document 7 Filed 09/14/22 Page 1 of 1 Pageid#: 43
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                      WesternDistrict
                                                 __________  District of
                                                                      of Virginia
                                                                         __________

                  United States of America
                             v.                                     )
                    Gerald Leonard Drake                            )        Case No.    5:22-cr-00008
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Gerald Leonard Drake                                                                                ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment          u Information       u Superseding Information             u Complaint
u Probation Violation Petition              u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Mailing Threatening Communications; Malicious Use of Explosives; Unlawful Manufacture of a destructive device;
  possession of an unregistered firearm, stalking; use of fire or explosive to commit felony or carry explosive during a
  felony; Bomb threat




Date:         09/14/2022                                                                                                          FOR
                                                                                           Issuing officer’s signature

City and state:       Charlottesville, VA                                          Joel C. Hoppe, U.S. Magistrate Judge
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
